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 4                           UNITED STATES DISTRICT COURT
 5                                  DISTRICT OF NEVADA
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 6

 7   UNITED STATES OF AMERICA,                   )
                                                 )      2:08-CR-00288-PMP-RJJ
 8                    Plaintiff,                 )
                                                 )
 9   vs.                                         )            ORDER
                                                 )
10   LADON MCCLELLAN,                            )
                                                 )
11                                               )
                      Defendant.                 )
12                                               )
13             Before the Court for consideration is the Petition for Writ of Habeas
14   Corpus and Motion for Relief Under 28 U.S.C. §2255 (Doc. #273) filed April 24,
15   2010 on behalf of Defendant Ladon McClellan. Plaintiff United States filed a
16   Response in Opposition to Defendant’s Motion (Doc. #304) on June 9, 2010, and on
17   June 19, 2010, Defendant McClellan filed a Reply Memorandum (Doc. #306).
18             Having read and considered the foregoing, and being fully familiar with the
19   record of proceedings in the case, the Court finds that no hearing is required on
20   Defendant McClellan’s motion and that said motion must be DENIED.
21             Specifically, the Court finds that Defendant McClellan has failed to
22   demonstrate that he received ineffective assistance of counsel under the standards
23   established pursuant to Strickland v. Washington, 466 U.S. 668 (1984). In
24   particular, Defendant McClellan has failed to prove that counsel performed
25   deficiently and has further failed to establish that he suffered prejudice as a result of
26   any deficient performance by his trial counsel.
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 1            IT IS THEREFORE ORDERED that Defendant Ladon McClellan’s
 2   Petition for Writ of Habeas Corpus and Motion for Relief Under 28 U.S.C. §2255
 3   (Doc. #273) is DENIED.
 4            DATED: August 23, 2010.
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                                     PHILIP M. PRO
 7                                   United States District Judge
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